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 1                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
 2                                  NASHVILLE DIVISION

 3
           UNITED STATES OF AMERICA,           )
 4                                             )
                           Plaintiff,          )
 5                                             )
                      v.                       )         No. 3:07-CR-00159
 6                                             )
           JAMES C. McWHORTER, BEATRICE L.     )
 7         McWHORTER, ANTHONY W. KENNEDY,      )
           CHAD E. VINCENT, CHASTITY A.        )
 8         LEONARD, RONNIE MACK HAMPTON,       )
           ROGER T. RAPP, DAVE MAYO, JR.,      )
 9         and SHAWN L. SIMPSON,               )
                                               )
10                         Defendants.         )
                                               )
11         ____________________________________)

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14              BEFORE THE HONORABLE ROBERT L. ECHOLS, SENIOR JUDGE
                              TRANSCRIPT OF PROCEEDINGS
15                                   May 12, 2008

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18
                                  EXCERPT OF PROCEEDINGS
19

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23         PREPARED BY:       DOROTHY STILES, RMR, CRR
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 1                      The above-styled cause came on to be heard

 2         on May 12, 2008, at 1:15 p.m., before the Honorable

 3         Robert L. Echols, Senior Judge, when the following

 4         proceedings were had, to-wit:

 5                                EXCERPT OF PROCEEDINGS

 6                     THE COURT:    Be seated, please.

 7               The next case today involves several defendants who are

 8         in the courtroom this morning -- this afternoon, rather, for

 9         a guilty plea hearing.

10               The style of the case is United States of America vs.

11         James C. McWhorter, who is not here.         He is the co-defendant,

12         but his case has been continued.

13               Secondly, there is Beatrice L. McWhorter, Anthony W.

14         Kennedy, Chad E. Vincent, Chastity Leonard, Ronnie Mack

15         Hampton, Roger T. Rapp, Dave Mayo, Jr., and Shawn Simpson.

16               Each of them are represented by their attorneys as

17         follows:    Beatrice McWhorter is represented by Jerry

18         Gonzalez.    Defendant Kennedy is represented by Mike Flanagan.

19         Chad Vincent is represented by Bob Lynch.          Chastity Leonard

20         by John Rodgers.     Ronnie Mack Hampton by Paul Bruno.         Roger

21         Rapp by Jim Simmons.      Dave Mayo by Jude Lenahan.       And Shawn

22         Simpson by Kathleen Morris.

23               Each of these defendants has submitted to the Court a

24         proposed Petition to Enter a Guilty Plea, as well as a

25         written Plea Agreement.       I have reviewed those documents



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 1         before this hearing and we'll talk about those a little

 2         later.    Addressing --

 3               First, I should say that the Government is represented

 4         by Ms. Courtney Trombly from the United States Attorney's

 5         office.

 6               I'm sure all the defendants have spoken with their

 7         attorneys about this proceeding today.          It consists of a

 8         number of questions that I must ask to each of you.            And it

 9         will take some time to go through that, because each of you

10         must answer individually the questions asked of you.

11               Although by asking all of you being here, the questions

12         will be the same in many cases but will still require your

13         individual answers to those questions.          I'll help you along

14         as we go through it, and I think you'll understand that

15         process pretty quickly.

16               Before we begin, I would like for the courtroom deputy

17         to administer the oath.       I'll ask each of the defendants to

18         now rise and raise your right hand.

19                                                   (Oath administered.)

20                     THE COURT:    Be seated, please.

21               All of you should understand that now you've been sworn

22         to tell the truth in these proceedings.          Should you answer

23         intentionally any of the questions falsely, then you could be

24         charged with a separate crime of committing perjury, which

25         means uttering a false statement under oath.



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 1               Let me say as we begin that the purpose of this hearing

 2         is to make sure that you're competent to plead guilty; that

 3         is, you know what you're doing, you understand the

 4         consequence of pleading guilty.

 5               I want to make sure that your decision and, in fact,

 6         your plea of guilty here this afternoon is being made freely

 7         and voluntarily.     I want to make sure you understand the

 8         nature of the charge or charges to which your plea of guilty

 9         is being offered, as well as the maximum penalty provided by

10         law for that punishment.       Or in the event there is any

11         mandatory minimum sentence involved, that you understand that

12         as well.

13               I also want to make sure that there is a basis in fact

14         for your guilty plea.      That is, is there an independent basis

15         in fact that you agree to that supports your plea of guilty;

16         which means, of course, that you did commit those acts that

17         constitute the crime for which you are charged in this case.

18               So let me ask all of you.       Do all of you understand that

19         by pleading guilty here this afternoon that you're waiving

20         your constitutional rights to a trial by jury to determine

21         whether or not you are guilty of this crime?

22               And do you further understand that by pleading guilty

23         here today that after the plea has been accepted you will be

24         considered convicted of that particular crime?

25               I'll start here with you, Ms. McWhorter.          Do you



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 1         understand that?

 2                     DEFENDANT B. McWHORTER:       Yes, sir.

 3                     THE COURT:    Mr. Kennedy?

 4                     DEFENDANT A. KENNEDY:      Yes, sir.

 5                                             (Proceedings continued.)

 6                     THE COURT:    Is your decision to plead guilty a

 7         result of discussions that each of you have had with your

 8         individual lawyers in this case?        And have you told your

 9         lawyer all the facts which you believe these charges are

10         based upon?

11               Ms. McWhorter?

12                     DEFENDANT B. McWHORTER:       Yes, sir.

13                     THE COURT:    Mr. Kennedy?

14                     DEFENDANT A. KENNEDY:      Yes, sir.

15                                             (Proceedings continued.)

16                     THE COURT:    I'm now going to ask each of you some

17         individual information about you individually.           And we'll

18         have to go down the line for this.         I'll just ask you to wait

19         patiently until I get to you, but we'll go through this

20         pretty quickly.

21               My first questions on this segment of the hearing will

22         be directed to you, Ms. McWhorter.

23               First, state your full name, please.

24                     DEFENDANT B. McWHORTER:       Beatrice Lynn McWhorter.

25                     THE COURT:    I'm going to ask all of you to speak up



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 1         loudly.    There's only a couple of microphones.         The court

 2         reporter has to hear every word you say, because she has to

 3         take it down.     I have to hear it, too.       And she hears better

 4         than I.    So speak loudly in answer to the questions.

 5                                             (Proceedings continued.)

 6                     THE COURT:    Next you, Mr. Kennedy.

 7               How old are you, please, sir.

 8                     DEFENDANT A. KENNEDY:      36, sir.

 9                     THE COURT:    And your full name, please.

10                     DEFENDANT A. KENNEDY:      Anthony Wayne Kennedy.

11                     THE COURT:    And how much education do you have?

12                     DEFENDANT A. KENNEDY:      14 years.

13                     THE COURT:    Where have you worked in the past?

14                     DEFENDANT A. KENNEDY:      Construction.

15                     THE COURT:    Pardon me?

16                     DEFENDANT A. KENNEDY:      Construction.

17                     THE COURT:    What kind of construction work did you

18         do?

19                     DEFENDANT A. KENNEDY:      Framing.

20                     THE COURT:    Any other jobs?

21                     DEFENDANT A. KENNEDY:      No, sir.

22                                             (Proceedings continued.)

23                     THE COURT:    The next several questions will be

24         asked to you as a group, but it will require individual

25         answers.



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 1               Have any of you ever been treated for any mental illness

 2         or addiction to narcotic drugs of any kind?

 3               Ms. McWhorter?

 4                      DEFENDANT B. McWHORTER:      No.

 5                      THE COURT:   Mr. Kennedy?

 6                      DEFENDANT A. KENNEDY:     Yes, sir.

 7                      THE COURT:   Tell me about that.

 8                      DEFENDANT A. KENNEDY:     I went to drug and

 9         alcohol --

10                      THE COURT:   Speak up.

11                      DEFENDANT A. KENNEDY:     I went to drug and alcohol

12         treatment.

13                      THE COURT:   When was that?      Just approximately.

14                      DEFENDANT A. KENNEDY:     '94.

15                      THE COURT:   Were you an inpatient?

16                      DEFENDANT A. KENNEDY:     Yes, sir.

17                      THE COURT:   Was that followed by some outpatient

18         care, as well?

19                      DEFENDANT A. KENNEDY:     Yes, sir.

20                      THE COURT:   Were you able to stay off of drugs and

21         alcohol after your treatment?        Or did you relapse and start

22         using again?

23                      DEFENDANT A. KENNEDY:     Relapsed and starting using

24         again.

25                      THE COURT:   What was the drug?      Cocaine?



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 1         Marijuana?

 2                      DEFENDANT A. KENNEDY:      Marijuana, alcohol, various

 3         pharmaceutical prescriptions.

 4                      THE COURT:    How long were you able to stay off?

 5                      DEFENDANT A. KENNEDY:      About four years.

 6                      THE COURT:    Did you continue to use up until the

 7         time you were arrested in this case?

 8                      DEFENDANT A. KENNEDY:      Yes, sir.

 9                                              (Proceedings continued.)

10                      THE COURT:    Are any of you defendants under the

11         influence of any drug or medication or alcoholic beverage

12         this afternoon?

13               Ms. McWhorter?

14                      DEFENDANT B. McWHORTER:      No, sir.

15                      THE COURT:    Mr. Kennedy?

16                      DEFENDANT A. KENNEDY:      No, sir.

17                                              (Proceedings continued.)

18                      THE COURT:    Have all of the defendants received a

19         copy of the indictment which contain the written charges

20         against you in this case?        The written indictment.

21                                   (Affirmative answers given in unison.)

22                      THE COURT:    I saw everybody shake their head except

23         you, Ms. Leonard.

24                      DEFENDANT C. LEONARD:      I said yes, sir.

25                      THE COURT:    Okay.   I'm sorry.    Let me just ask you



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 1         all individually then.

 2               Ms. McWhorter?

 3                     DEFENDANT B. McWHORTER:       Yes.

 4                     THE COURT:     Mr. Kennedy?

 5                     DEFENDANT A. KENNEDY:       Yes, sir.

 6                                              (Proceedings continued.)

 7                     THE COURT:     The indictment, as I said, contains

 8         written charges against you which represent the alleged

 9         violations of law which you plan to plead guilty to by being

10         here today.     Have each of you discussed these charges

11         carefully with your lawyer?

12                            (Affirmative answers given in unison.)

13                     THE COURT:     All have indicated that you have.

14               Let me say that the indictment is a legal document, of

15         course, but it is a document that's designed to advise you

16         about the charges to which you must stand trial.            The

17         indictment itself is no conviction whatsoever.            It's a

18         document to notify you of the charges on which you must stand

19         trial.

20               Under our law, everyone accused of a crime is presumed

21         to be innocent.      Even though you've been indicted, under our

22         law you are assumed to be innocent.         In other words, you do

23         not have to prove you're not guilty.          Rather, it's up to the

24         Government to prove that you are guilty.

25               But, of course, by pleading guilty here today you are



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 1         admitting that you are guilty, so you are relieving the

 2         Government of its obligation to prove that you are guilty.

 3         Do all of you understand that?

 4               Ms. McWhorter?

 5                     DEFENDANT B. McWHORTER:        Yes, sir.

 6                     THE COURT:     Mr. Kennedy?

 7                     DEFENDANT A. KENNEDY:        Yes, sir.

 8                                              (Proceedings continued.)

 9                     THE COURT:     Have you discussed with your lawyers

10         what the Government must prove in order to find you guilty of

11         these charges against you?

12               Ms. McWhorter?

13                     DEFENDANT B. McWHORTER:        I didn't understand the

14         question.

15                     THE COURT:     Pardon me?

16                     DEFENDANT B. McWHORTER:        I didn't understand the

17         question.     I'm sorry.    Repeat it.

18                     THE COURT:     Okay.   Have each of you discussed with

19         your lawyers what the Government would have to prove in order

20         to find you guilty of the charges against you in the

21         indictment?

22                     DEFENDANT B. McWHORTER:        Yes, sir.

23                     THE COURT:     What about you, Mr. Kennedy?

24                     DEFENDANT A. KENNEDY:        Yes, sir.

25                                              (Proceedings continued.)



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 1                     THE COURT:     The indictment in this case consists of

 2         two counts.     Ms. McWhorter and Mr. Kennedy are named in both

 3         counts; the rest of you are named only in Count 1.

 4               The indictment was issued on August the 29th, 2007.               The

 5         first count is a conspiracy count.         Conspiracy is an

 6         agreement between two or more persons to do an illegal act.

 7         In this case, the illegal act is described in the indictment.

 8               In Count 1, the conspiracy consists of producing false

 9         ID documents, which in this case were fraudulent driver's

10         licenses.     It also consists of transferring counterfeit

11         securities, meaning those fraudulent payroll checks.

12               It also consists of transferring the driver's licenses

13         which were manufactured in -- they constituted false

14         identification documents.        They had your individual

15         photographs, but they contained the identity of others, to

16         facilitate the cashing of fraudulent payroll checks.             So

17         those charges are --

18               Also included in the conspiracy was to transfer more

19         than five false driver's licenses, as well as making the

20         fraudulent payroll checks.

21               The second count consists of possessing with intent to

22         transfer five or more false ID documents, which in this case

23         were the fraudulent driver's licenses.

24               In order to prove you guilty of this conspiracy count,

25         the Government would have to prove certain things.            They're



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 1         called elements of the offense.

 2               First, they would have to prove there was, in fact, a

 3         conspiracy, this agreement; which does not have to be in

 4         writing, but there has to be some understanding or an

 5         agreement between the participants.

 6               The participants must be two or more persons.           And they

 7         have to agree to commit whatever the underlying crimes were.

 8         In this case it was manufacturing and possessing these false

 9         identity documents and passing the counterfeit securities of

10         various organizations that were reputed to be employers.

11               Secondly, they would have to prove that you knew what

12         you were doing.      That is that you knowingly and intentionally

13         agreed to participate in some way in this conspiracy.

14               And thirdly, they would have to prove that you or other

15         members of the conspiracy committed at least one of the acts

16         alleged in the indictment to accomplish the goals of the

17         conspiracy.

18               As I mentioned, only Ms. McWhorter and Mr. Kennedy are

19         named --

20               Excuse me.     All of you are named in Count 1.        I had that

21         backwards.     All of you are named in Count 1.        Ms. McWhorter

22         and Mr. Kennedy are also named in Count 2.           And the rest of

23         you are not named in Count 2.

24               So the elements I've just read will apply to each of

25         you, each of whom are planning to plead guilty to Count 1.



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 1               Do any of you then have any questions about what the

 2         Government would have to prove in order to find you guilty of

 3         this offense?

 4               Ms. McWhorter?

 5                      DEFENDANT B. McWHORTER:      No, sir.

 6                      THE COURT:    Mr. Kennedy?

 7                      DEFENDANT A. KENNEDY:      No, sir.

 8                                              (Proceedings continued.)

 9                      THE COURT:    With regard to Count 2 of the

10         indictment -- which, as I said, is a charge of possession of

11         false identity documents; the indictment says five or more

12         false identity documents -- the Government would have to

13         prove the following:

14               First, they would have to prove that that individual

15         defendant knowingly possessed five or more false identity

16         documents.     The indictment says five or more false identity

17         documents, so they would have to prove that you did possess

18         with intent to transfer five or more false identity

19         documents.

20               Secondly, they would have to prove that you knowingly

21         possessed these.      In other words, you possessed them and knew

22         they were false.      And that you possessed them knowing they

23         were false, with an intent to use them unlawfully, in some

24         unlawful manner, in order to pass counterfeit securities.

25               Thirdly, they would have to show that your act of



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 1         possessing the fraudulent identification documents was or did

 2         affect interstate commerce.        In other words, you were

 3         engaging in some trade activity that affected interstate

 4         commerce.

 5                 Do you have any question, Ms. McWhorter and Mr. Kennedy,

 6         about what the Government must prove in order to find you

 7         guilty of Count 2?

 8                      DEFENDANT B. McWHORTER:      No, sir.

 9                      DEFENDANT A. KENNEDY:      No, sir.

10                      THE COURT:    Have your lawyers talked to you or have

11         you discussed with your lawyers any potential defenses that

12         you would have to the charges against you as I have just

13         read?

14                 Ms. McWhorter?

15                      DEFENDANT B. McWHORTER:      Yes, sir.

16                      THE COURT:    Mr. Kennedy?

17                      DEFENDANT A. KENNEDY:      Yes, sir.

18                                              (Proceedings continued.)

19                      THE COURT:    Are each of you satisfied with the

20         advice that your lawyer has given to you up to this point?

21                 Ms. McWhorter?

22                      DEFENDANT B. McWHORTER:      Yes, sir.

23                      THE COURT:    Mr. Kennedy?

24                      DEFENDANT A. KENNEDY:      Yes, sir.

25                                              (Proceedings continued.)



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 1                     THE COURT:     Do any of you have any complaints about

 2         the investigation that your lawyer has done on your behalf?

 3         Or do you have any complaints about things that he or she has

 4         not done that you believe he or she should have done?

 5               Ms. McWhorter?

 6                     DEFENDANT B. McWHORTER:       No, sir.

 7                     THE COURT:     Mr. Kennedy?

 8                     DEFENDANT A. KENNEDY:       No, sir.

 9                                              (Proceedings continued.)

10                     THE COURT:     With regard to the maximum penalty

11         provided for the offenses to which you plan to plead guilty,

12         I'll first state it with regard to Count 1, which is the

13         conspiracy count.      That applies to each of you.

14               The maximum penalty provided by law is imprisonment for

15         not more than five years.        The law also provides that the

16         Court may impose a fine of not more than $250,000.

17               The law also requires that after you're released from

18         prison that you may be sentenced to a period of supervised

19         release of not more than one year.         And you'll also be

20         subject to a special assessment of $100.

21               With regard to Count 2, which applies to Ms. McWhorter

22         and Mr. Kennedy, which is possession of more than five or

23         more false identification documents, the maximum prison term

24         is not more than 15 years.

25               The fine is the same, not more than $250,000.           The



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 1         supervised release is a bit longer.         You may be sentenced to

 2         supervised release of not more than three years.

 3               And, again, there will be a separate special assessment

 4         of $100 for Count 2.

 5               Do either of you, Ms. McWhorter or Mr. Kennedy, have any

 6         questions about the maximum penalty provided in Count 2?

 7                     DEFENDANT B. McWHORTER:       No, sir.

 8                     DEFENDANT A. KENNEDY:       No, sir.

 9                     THE COURT:     I'm sure each of your lawyers have

10         discussed with you the possible sentences and the sentencing

11         guidelines, which I wish to discuss with you a bit too.

12               Let me say first that there is no longer any parole in

13         the criminal justice system, federal criminal justice system.

14         So if you are sentenced to prison for a certain period of

15         time, you'll have to serve all of that time except for up to

16         54 days of good time credit, which may be earned by you as

17         credit against your sentence.

18               The good time credit is not automatic, but you may earn

19         up to 54 days of good time credit against your sentence.

20         However, the 54 days of good time credit does not vest or

21         apply until each year you have served, but you may earn that

22         amount off your sentence.

23               After you're released from prison, you'll be subject to

24         a period of supervised release, which is a type of probation.

25         But it's different from probation, in that you are supervised



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 1         actively by a probation officer of the federal court.

 2               During the period of supervised release, you'll have to

 3         meet certain conditions.       Some of those conditions will

 4         restrict you or prohibit you from doing certain things.

 5         Other conditions will require you to do certain things during

 6         this period of time.

 7               There are a lot of different conditions.          They generally

 8         require you to obey the law and behave yourself.            And if you

 9         do that, you will not have any trouble.          By way of example --

10         although I will not read them all, I'll give you an example

11         of the types of conditions that you'll have to comply with

12         while you're on supervised release.

13               You'll have to report to your probation officer once a

14         month, and at that time you'll be asked to complete a

15         truthful and complete report of your activities.            It must be

16         truthful.

17               You'll have to follow the directions of the probation

18         officer and answer truthfully all inquiries by the probation

19         officer.

20               You'll be required to allow the probation officer to

21         visit you at any time, at home, work, or elsewhere.

22               You'll be prohibited from possessing any illegal drugs.

23         You'll be prohibited from using any illegal drugs.            And

24         you'll be subject to two periodic drug tests after you're

25         released from prison and as many other random drug tests as



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 1         the probation officer deems appropriate.

 2                You'll be prohibited from leaving the judicial district

 3         where you reside without permission of the Court or the

 4         probation officer.

 5                For those of you that live in Nashville or this

 6         surrounding area, the Middle District of Tennessee comprises

 7         32 counties.     Generally, westward to the Tennessee River;

 8         eastward to just past Cookeville on the Cumberland Plateau;

 9         and from Kentucky to Alabama.

10                So if you go outside that boundary, you'll have to get

11         permission of the probation officer.

12                You'll be required to notify the probation officer if

13         you change your residence or place of employment, 10 days in

14         advance of that event.

15                If you are arrested or questioned by a law enforcement

16         officer, you will have to report that event to the probation

17         officer, even if it's for a speeding ticket, within 72 hours.

18                You will be prohibited from going around or frequenting

19         any place where illegal drugs are possessed, stored,

20         manufactured, used, or administered or distributed in any

21         way.

22                You'll be prohibited from associating with any person

23         that's previously been convicted of a felony without

24         permission of the probation officer.          A felony is an offense

25         that is punishable by more than one year.



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 1                 You'll be required to allow the probation officer to

 2         visit you at any time, at home, work, or elsewhere.            And if

 3         the probation officer sees any contraband in plain view, then

 4         the probation officer may seize the contraband.

 5                 If, as a result of drug tests, you are found to be using

 6         illegal drugs, the probation officer may notify the Court.

 7         After a hearing, the Court will determine whether you have

 8         violated a condition of your supervised release.            If the

 9         Court so finds, then the Court may revoke the supervised

10         release and require you to serve in prison up to the entire

11         period of the supervised release.

12                 You'll be prohibited from drinking alcohol excessively.

13                 You'll have to work at some lawful occupation and

14         support your dependents and meet other family obligations.

15                 Those are the types of conditions that will apply during

16         this supervised release period.

17                 Being on supervised release has other consequences, as

18         well.    If you do commit another crime while you're on

19         supervised release, you may receive a higher sentence for

20         that second crime because it was committed while you were on

21         supervised release.

22                 Under the guidelines if you have had any prior

23         convictions within the last 15 years, those convictions may

24         serve to increase your sentence for this particular offense.

25                 If you committed this particular offense while you were



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 1         on probation, parole, or supervised release from some prior

 2         crime that you committed, then that may increase your

 3         sentence under the guidelines.

 4               If you committed the present offense less than two years

 5         after being released from prison from some prior crime, that

 6         may increase your sentence under the guidelines.

 7               If you committed the present offense as a part of a

 8         pattern of criminal conduct from which you derived a

 9         substantial portion of your income, that may increase your

10         sentence under the guidelines.

11               You should be aware that probation is not available to

12         the sentencing judge for most federal offenses.            The

13         guidelines in federal court also require the Court to impose

14         a fine for each conviction unless the Court finds that you're

15         not in a financial position to pay such a fine.

16               The guidelines also provide that the Court must impose a

17         $100 special assessment for each count of conviction.

18               At sentencing the Court will also have to consider

19         certain things, one of which is restitution.           These are fraud

20         claims and the allegations are that you defrauded certain

21         people or entities.

22               In every federal sentence the Court must consider the

23         matter of restitution.       Restitution means to restore or pay

24         back money or property that may be lost by some victim of

25         your criminal activity.



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 1               So at sentencing I'll have to consider the subject of

 2         restitution to determine if it applies in your individual

 3         case; and if so, what amount of restitution should be made a

 4         part of your sentence, to be decided by the Court.

 5               I know very little about the facts of your case at this

 6         point.    But I will have to consider the matter of restitution

 7         as it applies to each of you individually in determining

 8         what, if any, amount of restitution you should be required to

 9         pay as a part of your sentence.

10               The Court will also have to consider what the guidelines

11         call relevant conduct.       Relevant conduct is defined in the

12         sentencing guidelines, but it applies to all circumstances,

13         damages, and other matters related to your criminal activity.

14         And that's true even though you're pleading guilty only to

15         the specific charges in the indictment and, specifically, the

16         counts of the indictment to which you're pleading guilty.

17               Do any of you have any questions about restitution or

18         relevant conduct as I have described those terms to you?

19               Ms. McWhorter?

20                     DEFENDANT B. McWHORTER:       No, sir.

21                     THE COURT:     Mr. Kennedy?

22                     DEFENDANT A. KENNEDY:       No, sir.

23                                              (Proceedings continued.)

24                     THE COURT:     These are felony offenses to which you

25         are pleading guilty, so the Court advises you that conviction



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 1         of a felony will deprive you of the right to vote in the

 2         future.

 3               You may not possess a firearm anytime in the future.

 4         This prohibition against possession of a firearm applies for

 5         the rest of your life, well beyond the period of supervised

 6         release.

 7               This conviction may be counted as one of the necessary

 8         convictions should you later be prosecuted for being a

 9         habitual criminal.

10               As you may know, conviction of a felony may make it more

11         difficult for you to be employed by some companies in a

12         certain position.

13               Now a word about the sentencing guidelines.           Again, I'm

14         sure your lawyers have discussed it with you, the sentencing

15         guidelines.

16               Let me just say first, as an overview, for every federal

17         crime that's committed there is a corresponding sentencing

18         guideline provision.       Those guideline provisions have been

19         promulgated by the United States Sentencing Commission,

20         they've been approved by the United States Congress, and they

21         form an advisory model for sentencing.

22               And sentencing judges are expected to pay attention and

23         take consideration of those guideline policies in imposing

24         sentence, along with certain factors that are contained in a

25         federal statute.



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 1               But, as I mentioned, for every federal crime there's a

 2         corresponding sentencing guideline.         And that guideline will

 3         determine a base offense level or a beginning point to begin

 4         the calculations to determine a guideline range for

 5         sentencing.

 6               In fraud cases, the beginning point or the base offense

 7         level is usually driven by the type of crime.           And so each of

 8         you will have assigned a base offense level.

 9               For most of you pleading guilty to the same count, the

10         base offense level may be the same.         I'm sure your lawyers

11         have considered that and your lawyers have discussed it with

12         Ms. Trombly as they prepared the proposed Plea Agreement on

13         your behalf.     But I suppose you know -- if you don't, I want

14         to make clear -- that I have not been involved in any of

15         those discussions.      I don't know what, if any, discussions

16         your lawyers have had with Ms. Trombly.

17               Ms. Trombly does not work for the court.          As a matter of

18         fact, she's not even in the same department.           I'm in the

19         Department of Judiciary.       She's in the executive branch of

20         the Government.      And your lawyers are not part of the court

21         and not part of the executive department either.            But they

22         have, I know, discussed it, because I've seen these proposed

23         agreements.

24               At any rate, there's a base offense level that has been

25         determined for each of you.        And that base offense number or



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 1         level is stated as a number, a numerical number.            Then to

 2         that number other numbers or levels may be added, depending

 3         on the circumstances of that case.

 4               And a number of factors have to be considered and

 5         evaluated to determine if they apply in your case and, if so,

 6         to what extent.      Because the guidelines may give some options

 7         as to how many points or how many levels can be added,

 8         depending on your conduct.

 9               Some factors are called aggravating factors, which

10         increase that base offense level.         That is, they're to be

11         added to that level.       And other factors are called mitigating

12         factors, which will reduce that number.

13               So the Court will have to go over those same

14         calculations and evaluation to determine what final adjusted

15         base offense level you will have.         And after we do those

16         additions and any subtractions that need to be made, there

17         will be a final base offense level, which is stated again as

18         a number.

19               The Court will then look at your criminal history to see

20         if you've had any past criminal convictions.           If you have,

21         you may have received what's called criminal history points.

22               The guidelines allow you to accumulate up to three

23         criminal history points for any past conviction.            The points

24         are added from one to three.        Sometimes you get no criminal

25         history points; but if you do, you get from one to three,



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 1         depending on the severity of the punishment you received for

 2         that past conviction.

 3                 The Court will add up all the criminal history points

 4         you may have accumulated for your past convictions, and then

 5         you will be assigned into a criminal history category.

 6                 There are six criminal history categories, with I being

 7         the lowest and VI being the highest.          If you have over one

 8         criminal history point, you automatically are assigned to the

 9         next criminal history category, II.         I is the lowest.      VI is

10         the highest.     If you have 13 or more, you are in the highest

11         criminal history category, VI.

12                 Then there's a table that transposes your adjusted base

13         offense level and your criminal history category into a

14         guideline range for sentencing, which is stated from a

15         minimum number of months to a maximum number of months.             And

16         that represents your advisory guideline range for sentencing.

17                 The Court is not obligated by law to sentence you within

18         that guideline range.       I will say that most sentences are

19         within that guideline range, but there's no guarantee that

20         yours will be.

21                 Have each of you discussed with your lawyers the

22         guidelines, the federal sentencing guidelines, and the

23         guideline range that will be applicable to your particular

24         case?

25                 Ms. McWhorter?



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 1                     DEFENDANT B. McWHORTER:       Yes, sir.

 2                     THE COURT:     Mr. Kennedy?

 3                     DEFENDANT A. KENNEDY:       Yes, sir.

 4                                              (Proceedings continued.)

 5                     THE COURT:     Let me ask the lawyers.

 6               Do all of you have the originals of the Petition to

 7         Enter a Guilty Plea and Plea Agreement?

 8                     MR. GONZALEZ:     Yes, sir.

 9                     THE COURT:     All right.    Would each of you put that

10         document in front of the defendant, so I can point out some

11         things to them just to make sure that they understand.             If

12         they have questions, they can ask each of you.

13               I'll say to the defendants if you do have questions,

14         then you may simply turn or motion for your lawyer to come

15         and speak to you about that.

16               I have reviewed these, and most of these Petitions to

17         Enter a Guilty Plea and Plea Agreements are very similar.

18         Although there may be some differences that I did not detect,

19         because I didn't go over them as closely as I would if I was

20         looking just to see any differences.

21               What I'm going to ask all of you to do is look first at

22         this Petition to Enter a Guilty Plea, which may be the first

23         document.     And you'll see --

24               I'm looking now at Ms. McWhorter's document.           On Page 2

25         of your Petition to Enter a Guilty Plea, in the middle of the



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 1         page, it says that your lawyer has estimated that your

 2         adjusted base offense level will be 19.          And that at this

 3         point, based on the information that Mr. Gonzalez knows,

 4         you'll be in Criminal History Category II, which would result

 5         in a guideline range for sentencing of from 33 to 41 months.

 6                 It goes on to say that this is just an estimate by your

 7         lawyers.    It's not guaranteed and it's not a promise.           It's

 8         based on the best information that he has at this time.

 9                 And then if you will -- your petition runs through Page

10         7.   The next page should be the beginning of what's called a

11         Plea Agreement, which represents an agreement.            And it will

12         represent for each of you an agreement between yourselves,

13         your lawyer, and Ms. Trombly about your guilty plea in this

14         case.

15                 The Plea Agreement has a more detailed calculation of

16         the guideline range in your case.         And, again, I'm on

17         Ms. McWhorter's, and I'm looking at Page 7.           And there's a

18         beginning discussion of the sentencing guideline

19         calculations.

20                 And, of course, Ms. McWhorter and Mr. Kennedy are

21         charged in both Counts 1 and 2.         And under the provisions of

22         the guidelines, there are considerations for what's called

23         grouping of counts that are considered to be related.             And

24         under those guidelines, Counts 1 and 2 will be grouped

25         together for purposes of calculating the guideline range



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 1         because they're commonly connected with this criminal

 2         objective and common plan or scheme.

 3                So the guidelines say that when you do this, you have to

 4         make these separate calculations.         But they're grouped, and

 5         you pick the one with the largest sentencing guideline range.

 6                But it starts with a base offense level of six.             You see

 7         in 11(a)(ii), it says the base offense level for the group is

 8         six.

 9                Then there is an increase, which is an aggravating

10         factor, because of the amount of the loss.           It says because

11         the loss in this case was greater than $200,000 but less than

12         $400,000.     That's a range that assigns 12 points.         It could

13         be higher or lower, depending on what that intended loss or

14         actual loss may be.

15                Then two additional points, it's recommended, would be

16         added because there were more than 10 victims.            That's

17         another aggravating -- that's at the top of Page 8.

18                And an additional two points because sophisticated means

19         were used to carry out the crime.         In this case, the

20         execution of the fraudulent scheme.

21                And then on (vi) it says it's recommended that you

22         receive a three-point reduction because you've cooperated and

23         accepted your responsibility for participating in this crime.

24         By doing so, you've avoided the necessity of further

25         investigation by the Government and the time and expense



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 1         required to prepare for trial.        So you get a three-level

 2         reduction for that.

 3                 When considering the base offense level and the

 4         additions and subtractions, that reduces your base offense

 5         level to an adjusted base offense level of 19.

 6                 Then it looks at your criminal history.        As you see, you

 7         have had prior convictions.        And those convictions result in

 8         some criminal history points.        I don't know how many, but

 9         enough to put you in Criminal History Category II.

10                 So that results in an anticipated advisory sentencing

11         range of from 33 to 41 months.        That's under (b) in the

12         middle of the page on Page 9.

13                 Again, that's your -- in this case, it's not just your

14         lawyer, it's what your lawyer and Ms. Trombly believe should

15         be the appropriate sentencing guideline range in your case

16         based on the information that they know at this particular

17         time.

18                 Do you have any question about any of that?

19                      DEFENDANT B. McWHORTER:      No, sir.

20                      THE COURT:    Mr. Kennedy, yours should be the same.

21                 You've got a Petition to Enter a Guilty Plea.         That

22         should be the first document.        And at the top of Page 2,

23         yours does not state a --

24                 Your petition does not state a specific estimate by your

25         lawyer.    It simply says your lawyer has given you an estimate



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 1         of the guideline range that may apply in your case.            You

 2         realize that it's an estimate, but no specific range is

 3         stated as it was in Ms. McWhorter's case.

 4               Then if you turn over past Page 6, you'll get to the

 5         Plea Agreement.      And on Page 7, there is again a discussion

 6         of your individual guideline calculations that your lawyer

 7         and Ms. Trombly have discussed.         And again it says that your

 8         Counts 1 and 2 should be grouped.         That's at the bottom of

 9         Page 7.

10               And at the top of Page 8 it says your base offense level

11         should be six.      That is the beginning point.       As with

12         Ms. McWhorter, 12 points should be added because the loss was

13         greater than $200,000 but less than 400.

14               Another two points because there are more than two

15         victims.    Another two points because sophisticated means were

16         used in carrying out the fraudulent scheme.           And then a

17         subtraction of three points because of your --

18               No.   Excuse me.     Under (vi) it says that there will be

19         an additional three points because you acted as a manager or

20         supervisor of the criminal activity; that is, of the

21         conspiracy.     And that the conspiracy was extensive and

22         involved more than five participants.

23               That's another aggravating factor contained in the

24         guidelines.     So there will be three additional points added

25         for that.



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 1                 And then under (vii) on Page 8, the last paragraph, it's

 2         recommended that you get a three-point reduction as well.

 3                 On the top of Page 9 is the criminal history

 4         calculation.     It notes certain crimes that you've had in the

 5         past.    And you have accumulated sufficient criminal history

 6         points to put you in the next category, Criminal History

 7         Category III.

 8                 So your adjusted base offense level is 22.         And with a

 9         Criminal History Category of III, you have an anticipated or

10         recommended advisory guideline range of from 51 to 63 months.

11                 And you see there's a fine -- an estimated fine there,

12         too.

13                 Do you have any questions about any of the recommended

14         calculations that you and your lawyer and Ms. Trombly are

15         recommending?

16                      DEFENDANT A. KENNEDY:      No, sir.

17                                              (Proceedings continued.)

18                      THE COURT:    Let me finish here.

19                 I don't have to agree with their recommendation.          Now,

20         all of your lawyers are experienced.          I know them.    I've seen

21         them here in the courtroom.        They know the sentencing

22         guidelines.     I know they're giving you their best knowledge.

23         Ms. Trombly has been prosecuting cases for a while.            And

24         they're making a recommendation to me.          I don't have to

25         accept their recommendation.



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 1                 Mr. Lenahan is saying he just found out some information

 2         he didn't know before.       I don't know whether it affects his

 3         agreement with Ms. Trombly or not.         I'll let them talk about

 4         that.

 5                      MR. LENAHAN:    It won't affect the agreement, Your

 6         Honor, at all.

 7                      THE COURT:    Okay.

 8                      MR. LENAHAN:    If you want me to make a footnote

 9         there, I will.      But it's just something I found out.

10                      THE COURT:    Well, you might want to do that, just

11         because you found out about it.

12                 Let me just tell the defendants one other thing.          After

13         this guilty plea hearing, the United States Probation

14         Department will assign each of you a probation officer to

15         prepare what's called a Presentence Investigative Report.

16         And that information will have a lot of background

17         information about each of you.        Its purpose is to aid me in

18         sentencing.

19                 So it will have personal information about you.          Not

20         just about this conspiracy or this charge, but it will have a

21         lot of personal information about you, about your families,

22         your upbringing, your mothers and fathers, brothers and

23         sisters if you have any, any marriages that you may have, any

24         children that you may have, where you've worked, your health,

25         your finances.



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 1                 It will have a factual statement about how this scheme

 2         developed and how it was played out and your part in it.                And

 3         then it will have a recommended calculation of your guideline

 4         range for sentencing, just as we've gone over.            But they do

 5         that independently of what your lawyer and Ms. Trombly have

 6         done.

 7                 So I'll get that.    I'll have your agreement with the

 8         Government.     So that will all be before me at the sentencing

 9         hearing.    But before the sentencing hearing, you and your

10         lawyer will get a copy of that investigative report, prepared

11         by your probation officer.        And you'll have a chance to

12         review it with your lawyer.        You'll have a chance to go over

13         the facts in that report and see if you agree with them.

14                 If you have any objections, you, through your lawyer,

15         can take it up with the probation officer that prepared the

16         report and see if you can correct anything that you think is

17         in error.

18                 If you are not able to correct any objection that you

19         may have to the report, then you can take it up at the

20         sentencing hearing before I impose sentence.           And I will

21         decide whether to change it or not after I hear from you and

22         I hear from the probation officer and the Government.

23                 But in the final analysis, it will be I, as the

24         sentencing judge, that will determine each of your guideline

25         ranges for sentencing, which is an advisory range.            It's not



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 1         mandatory.     But I'll have to establish an advisory guideline

 2         range for sentencing.       And then it will be up to me to

 3         determine what individual sentence is to be imposed in each

 4         of your cases.

 5               And I will consider it individually.          Even though you

 6         may be convicted of the same crime, you all are different.

 7         You may get the same sentence, but you may not.

 8               But there will be this investigative report.           And it's

 9         prepared independently of the Government.           And it's

10         independent of the Court, although the probation department

11         is an arm of the United States District Court.

12               Do any of you have any question about how that process

13         will work with regard to the probation officer?

14                                   (Negative answers given in unison.)

15                      THE COURT:    I'll go ahead and tell you that in

16         order to gather this personal background information from

17         each of you, it will be necessary to sit down with you for an

18         interview.     Otherwise, they wouldn't know.        So they'll ask

19         for an interview with each of you and you'll be sworn to tell

20         the truth.

21               If you intentionally answer falsely in any of the

22         answers that you give to the questions asked by the probation

23         officer, that may increase your sentence under the

24         guidelines.

25               If you want your lawyer to be present when you're



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 1         interviewed by the probation officer, then you can request

 2         your lawyer to be present when you're interviewed to gather

 3         this background information and your lawyer can be present at

 4         that time.

 5                Do any of you have any questions about the Presentence

 6         Investigative Report and how it's prepared and how it will be

 7         used to assist me at sentencing?

 8                Any questions?

 9                                        (Negative answers given in unison.)

10                      THE COURT:    I see there are none.

11                I've gone over these calculations in these Plea

12         Agreements because I want to make sure that you understand

13         them generally.      You have to rely largely on your lawyer,

14         because it's a complicated process in learning those things.

15         But you've all indicated --

16                Let me ask again.     Have all of you gone over these

17         calculations as to your recommended sentencing guideline

18         range with each of your lawyers?

19                      MS. MORRIS:    Your Honor, excuse me.

20                      THE COURT:    Yes.

21                      MS. MORRIS:    You haven't gone through Ms. Simpson's

22         yet.

23                      THE COURT:    Pardon me?

24                      MS. MORRIS:    I don't believe you've gone over

25         Ms. Simpson's Plea Agreement yet.



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 1                      THE COURT:    I have not?    Okay.   Thank you.     Well, I

 2         haven't gotten to her yet.        Excuse me, Ms. Simpson.

 3                 Thank you.

 4                                              (Proceedings continued.)

 5                      THE COURT:    Have each of you read these documents,

 6         the Petition to Enter a Guilty Plea and the Plea Agreement?

 7                 Have each of you gone over those documents and do you

 8         believe -- you've read them carefully and you believe you

 9         understand them?

10                 Let me just say this before you answer the question.

11         These are legal documents, but they're prepared by lawyers.

12         You've heard Mr. Rodgers say that the Plea Agreement was

13         prepared by the Government and submitted to him for approval.

14                 But ultimately, each of these documents will be signed

15         by you.    They represent your agreement to plead guilty in the

16         case.    And with regard to the Plea Agreement, it represents

17         your agreement with the Government about the recommendations

18         that are being made by you and the Government to the Court.

19                 Have each of you read these documents carefully?          And do

20         you believe you understand them?

21                 Ms. McWhorter?

22                      DEFENDANT B. McWHORTER:      Yes, sir.

23                      THE COURT:    Have you read it and do you believe you

24         understand it?

25                      DEFENDANT B. McWHORTER:      Yes, sir.



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 1                     THE COURT:     Mr. Kennedy?

 2                     DEFENDANT A. KENNEDY:       Yes, sir.

 3                                              (Proceedings continued.)

 4                     THE COURT:     I'm going to ask this as a follow-up

 5         question.

 6               Have you not only read these documents yourself,

 7         Ms. McWhorter, but have you discussed these documents

 8         carefully with your lawyer?

 9                     DEFENDANT B. McWHORTER:       Yes, sir.

10                     THE COURT:     And Mr. Kennedy?

11                     DEFENDANT A. KENNEDY:       Yes, sir.

12                                              (Proceedings continued.)

13                     THE COURT:     If for some reason the Court doesn't

14         accept your Petition to Enter a Guilty Plea and your Plea

15         Agreement, you'll be able to change your plea from guilty to

16         not guilty.

17               On the other hand, if I do accept your petition and your

18         Plea Agreement, you will not be able to change your plea of

19         guilty to not guilty, even though I may not agree with all of

20         the recommendations that are made to me on your behalf.

21               Do you understand that, Ms. McWhorter?

22                     DEFENDANT B. McWHORTER:       Yes, sir.

23                     THE COURT:     Mr. Kennedy?

24                     DEFENDANT A. KENNEDY:       Yes, sir.

25                                              (Proceedings continued.)



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 1                     THE COURT:     I now want to ask whether or not any of

 2         you are on probation, supervised release, or parole from any

 3         prior sentence.

 4               To repeat, are you presently under -- are you presently

 5         on probation or parole or supervised release from any prior

 6         offense?

 7               Ms. McWhorter?

 8                     DEFENDANT B. McWHORTER:       No, sir.

 9                     THE COURT:     Mr. Kennedy?

10                     DEFENDANT A. KENNEDY:       Yes, sir.

11                     THE COURT:     Is that from some conviction in state

12         court?

13                     DEFENDANT A. KENNEDY:       Yes, sir.

14                     THE COURT:     Do you understand, Mr. Kennedy, that by

15         pleading guilty to this crime that that may be a violation of

16         your parole from the state offense?

17                     DEFENDANT A. KENNEDY:       Yes, sir.

18                     THE COURT:     And if it is, the state would have an

19         option to revoke your probation and require you to serve the

20         balance of your sentence in that state case.

21                     DEFENDANT A. KENNEDY:       Yes, sir.

22                     THE COURT:     Do you understand that?

23                     DEFENDANT A. KENNEDY:       Yes, sir.

24                                              (Proceedings continued.)

25                     THE COURT:     Knowing all the penalties and



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 1         implications of a guilty plea, do all the defendants still

 2         wish to plead guilty?

 3               Ms. McWhorter?

 4                     DEFENDANT B. McWHORTER:       Yes, sir.

 5                     THE COURT:     Mr. Kennedy?

 6                     DEFENDANT A. KENNEDY:       Yes, sir.

 7                                              (Proceedings continued.)

 8                     THE COURT:     I know your lawyers have talked to you

 9         about your right to a jury trial.         All of you have a right,

10         as provided in the Constitution, to a jury trial.

11               All persons accused of a crime are entitled to a jury

12         trial and a speedy trial; a trial where you're represented by

13         a competent lawyer; a trial in which you are afforded the

14         opportunity for compulsory process, which means you have a

15         right to have subpoenas issued to require witnesses to come

16         and testify on your behalf, whether they want to come or not.

17               And if you pled not guilty, which you have a

18         constitutional right to do, you have a right, of course, to

19         require the Government to try to prove you're guilty.             And

20         they would have to do that not before me, but before a jury.

21               A jury would consist of citizens from this division of

22         this district court.       If you pled not guilty, the Court would

23         set a trial date and the jury administrator from this court

24         would summon a panel of prospective potential jurors.             They

25         would come to court on the trial date.



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 1                 They would all come here and we would have them sworn to

 2         tell the truth to questions asked of them.           Then we would

 3         seat them one by one.       First, in the jury box.       And we would

 4         have more than those seats in the jury box, so in the first

 5         row of seats and then over on the benches.

 6                 Through a process of questions by the Court and lawyers

 7         for both sides, we would qualify those jurors.            That is, we

 8         would determine whether or not we determine they are

 9         qualified in the sense that they would be able to listen to

10         the evidence and make an objective finding of the facts in

11         the case and follow the law that the Court directs them

12         applies in the case.

13                 The law allows the Court to dismiss jurors if the Court

14         doesn't believe that they can be objective to both sides of

15         the case and be fair.

16                 In addition to that, the Court grants to both sides the

17         right to challenge certain jurors that they don't believe

18         could be entirely objective in the case.          If the Court

19         agrees, then those jurors would simply be dismissed.             There's

20         an unlimited number of challenge for cause, such as that.

21                 And the law also gives both sides a right for the

22         lawyers for both sides to use their discretion in dismissing

23         jurors that they don't think would be appropriate in the

24         case.    That is, they don't believe they would have an open

25         mind to their side of the case.



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 1                When all of that process is completed, we would select

 2         12 jurors.     That would be the jury in the case, along with

 3         some alternates -- usually two, sometimes more.            And that

 4         would be the group of citizens that would hear the evidence

 5         presented by the Government.

 6                And the trial would then proceed by both sides, the

 7         Government and then each of your lawyers, giving an opening

 8         statement about what the charges are and what the defenses

 9         are.    And then the Government would try to prove their case

10         by calling witnesses who would be sworn here in court and

11         take the witness stand right here and testify in front of the

12         jury about what they believe the facts are.           That is, what

13         they believe you did that constitutes this crime.

14                Any person that testified for the Government would be

15         subject to cross examination by your own lawyer.            The

16         Government could not call you as one of its witnesses.             You

17         also have a constitutional right under the Fifth Amendment

18         not to give incriminating evidence against yourself.

19                After all the Government's witnesses have testified,

20         then you would have a chance to put on your own defense.                In

21         that regard you have a right to testify in your own defense,

22         if you wish.     You have a right to call witnesses if you so

23         wish, which the Court would require to come to court and

24         testify.

25                If you or any witness took the stand, the Government



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 1         would have a right to cross examine them.

 2                 After all the proof is in, the lawyers would give their

 3         final arguments to the jury to try to point out those things

 4         in the proof that they believe support their side of the

 5         case.

 6                 After the final arguments, the Court would read the jury

 7         the law that applies in the case.         And then the jury would be

 8         excused from the courtroom to deliberate, to determine

 9         whether the Government has met its high standard of proof, of

10         proving you guilty beyond a reasonable doubt.

11                 All verdicts must be unanimous.       There's no majority

12         verdicts.     So unless each of the 12 jurors was convinced that

13         the Government has met its burden of proof in proving each of

14         these separate elements that I read earlier beyond a

15         reasonable doubt, then they couldn't find you guilty of that

16         offense.    If they did, then the jury would have convicted you

17         of that offense.

18                 I remind you of that, although I know your lawyers have

19         talked to you about your right to a jury trial.            That's how a

20         jury trial, in a general way, would be conducted.

21                 But it's important that you understand here today,

22         before we finalize this proceeding, that by pleading guilty

23         here today there will not be any jurors.          There will not be

24         even a trial date nor jurors.        There won't be any witnesses.

25         There will be no opportunity for the lawyers to even argue



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 1         whether you did this crime or not, because you're admitting

 2         today that you did commit the crime.

 3               In fact, there will only be one other hearing.            That

 4         will be a final sentencing hearing that will be set by the

 5         Court at a later date, in about 90 days or so.

 6               Do any of you have any question about pleading guilty

 7         and waiving your right to a jury trial?

 8               Ms. McWhorter, do you have any questions?

 9                     DEFENDANT B. McWHORTER:       No, sir.

10                     THE COURT:     Mr. Kennedy?

11                     DEFENDANT A. KENNEDY:       No, sir.

12                                              (Proceedings continued.)

13                     THE COURT:     Before I complete the hearing, I want

14         to point out a couple of other things in these documents and

15         give you a chance to talk to your lawyers about any questions

16         you have about that.

17               First, all of these conditions are important.           And by

18         pointing out just --

19               I talked about the calculations.         That's to make sure if

20         you have any questions, you can ask them to me or discuss

21         them with your lawyer.       But the Plea Agreement has a couple

22         of other things I want to make sure you understand fully.

23               First, each of you have in your Plea Agreement a section

24         called Factual Basis.       I'm just looking at Ms. McWhorter's.

25         They're all at about the same place.



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 1               The facts are a little bit different, as I recall, as I

 2         read them, because all of you did not do the same things.

 3         The scheme was generally the same.         The fraudulent scheme was

 4         the same, but all of you did not do the exact same things.

 5               But there is a Factual Basis.        In Ms. McWhorter's case,

 6         it begins on Page 4, at the bottom of Paragraph 9.            And then

 7         there follows some facts that relate to Count 1.            Then

 8         there's some facts that relate to Count 2.

 9               Now, as we've heard, these documents have been prepared

10         by the lawyers in the case.        But, as I said, they represent

11         your agreement.      You'll be asked to sign them.        And by

12         signing this agreement, you'll be agreeing that those facts

13         are true, because I will be relying on those facts to accept

14         your guilty plea.

15               So each of you have a statement of fact.          The facts are

16         similar, but there are some differences because you all

17         operated -- you didn't all have the same role in the offense.

18         But there is a statement in those facts about what -- not

19         only what all the scheme and the conspiracy was about, but

20         what you did in participating in the conspiracy.

21               There's also a section regarding restitution.           On

22         Ms. McWhorter's, it's on Page 13, at the bottom, beginning at

23         Paragraph 23.     But there's some victims that are identified,

24         along with the amount of the loss.         That will be subject to

25         restitution.



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 1                 I can't say for sure that all these victims or the

 2         amounts are the same for each of the agreements, but you

 3         should look at them.       I'm sure your lawyers have looked at

 4         them.    But I'll call it to your attention because restitution

 5         will be an issue in the case, it seems to me at this point.

 6                 And I will rely on this recommendation made by your

 7         lawyer and the Government's lawyer about restitution, along

 8         with the report from the probation officer about what he or

 9         she recommends would be the restitution for which you might

10         be held accountable in this case, along with any other

11         evidence that may be presented to me at the sentencing

12         hearing.

13                 I do note that in some cases it's stated -- in

14         Ms. McWhorter's case, at the bottom of Page 14, in the last

15         paragraph, The defendant acknowledges that the above chart

16         may not contain each and every victim, as some victims are

17         still unknown to the Government at this time.           Though the

18         restitution is still being determined and apportioned, the

19         defendant understands and acknowledges that court-ordered

20         restitution to identified victims could amount to more than

21         $70,000, the acknowledged amount of the loss.

22                 Now, in the guideline calculations, one of the enhancing

23         factors is that the loss is greater than $200,000 but less

24         than $400,000.      That's because of the -- I guess the number

25         of checks cashed.



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 1                As I say, I don't know all the facts about this case at

 2         all.    I don't know that that is any sort of contradiction,

 3         but I do know that 12 points are being added because the loss

 4         falls in between $200,000 and $400,000 under that section of

 5         the guidelines.

 6                Next I want to call your attention to the section on

 7         Waiver of Appellate Rights, which is on Page 16, Paragraph 28

 8         in Ms. McWhorter's.      It may be at a different page, but it's

 9         generally toward the back of the agreement.           And in that

10         section, you are waiving most of your appeal rights.

11                Now, the Government is also waiving most of its appeal

12         rights in this same paragraph.        But it states that you

13         understand, under Paragraph 28 of Ms. McWhorter's, on Page 16

14         -- and all the language is similar.         You understand that by

15         signing this agreement and pleading guilty, you are waiving

16         all the appellate rights that would have been available to

17         you if you exercised your right to go to trial.

18                Well, of course, none of you are going to trial, so you

19         don't have those same appeal rights.          You are pleading

20         guilty.

21                You also agree that you will not file any appeal from

22         the sentence imposed by the Court at your sentencing hearing;

23         nor litigate the amount that you receive by the Court after

24         you begin to serve your sentence under the statutes that are

25         stated in this paragraph, including any right you may have to



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 1         file a writ of habeas corpus, as to any sentence within or

 2         below the anticipated guideline range.

 3               And the Government also waives any right to appeal the

 4         sentence imposed by the Court so long as the sentence is

 5         within or above the anticipated guideline range -- within or

 6         above the guideline range or below the guideline range if the

 7         Government has moved for a downward departure.

 8               And this agreement is binding on both parties.            However,

 9         your waiver of appeal rights is not complete.           That is, you

10         do reserve certain rights to appeal.          And that's at the

11         bottom of this paragraph.

12               The rights of appeal or the grounds for appeal are

13         reserved so long as it involves a claim of involuntariness of

14         your plea of guilty, which we're taking a lot of time here to

15         make sure that your plea of guilty is voluntary.

16               But if you have a claim on the involuntariness of your

17         guilty plea or if you believe the Government has engaged in

18         prosecutorial misconduct or if you believe you've received

19         ineffective assistance of your own counsel, then you may file

20         an appeal.     So I'll call those additional provisions to your

21         attention.

22               Do any of the defendants have any question about these

23         additional procedures that I have just mentioned to you?

24               Ms. McWhorter?

25                      DEFENDANT B. McWHORTER:      No, sir.



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 1                     THE COURT:     Mr. Kennedy?

 2                     DEFENDANT A. KENNEDY:       No, sir.

 3                                              (Proceedings continued.)

 4                     THE COURT:     Do these documents, the Petition to

 5         Enter a Guilty Plea and the Plea Agreement, contain every

 6         understanding that you have with your lawyer and with the

 7         Government as it relates to the Plea Agreement about your

 8         plea of guilty in the case?

 9               Do they contain completely every understanding you have

10         about your plea of guilty in the case?

11               Ms. McWhorter?

12                     DEFENDANT B. McWHORTER:       Yes, sir.

13                     THE COURT:     Mr. Kennedy?

14                     DEFENDANT A. KENNEDY:       Yes, sir.

15                                              (Proceedings continued.)

16                     THE COURT:     Has anyone undertaken to promise you,

17         guarantee you, or suggest to you what specific sentence you

18         will receive in this case, other than estimating the

19         guideline range?

20               Ms. McWhorter?

21                     DEFENDANT B. McWHORTER:       No, sir.

22                     THE COURT:     Mr. Kennedy?

23                     DEFENDANT A. KENNEDY:       No, sir.

24                                              (Proceedings continued.)

25                     THE COURT:     Has anybody put any pressure on you,



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 1         physically or psychologically, in order to get you to plead

 2         guilty in the case?

 3               Ms. McWhorter?

 4                      DEFENDANT B. McWHORTER:      No, sir.

 5                      THE COURT:    Mr. Kennedy?

 6                      DEFENDANT A. KENNEDY:      No, sir.

 7                                              (Proceedings continued.)

 8                      THE COURT:    Have any of you had any alcoholic

 9         beverage within the last 24 hours?         Or have any of you taken

10         any drugs, medicine, pills, hallucinogens, or anything else

11         containing a narcotic or mind-altering substance, other than

12         ones that have been mentioned for depression and one for this

13         mental imbalance situation?

14               Anything else that any of you have taken in that nature

15         within the last 24 hours?

16               Ms. McWhorter?

17                      DEFENDANT B. McWHORTER:      No, sir.

18                      THE COURT:    Mr. Kennedy?

19                      DEFENDANT A. KENNEDY:      No, sir.

20                                              (Proceedings continued.)

21                      THE COURT:    Are all of your minds clear and you

22         know exactly what you're doing by pleading guilty here this

23         afternoon?

24               Ms. McWhorter?

25                      DEFENDANT B. McWHORTER:      Yes, sir.



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 1                      THE COURT:    Mr. Kennedy?

 2                      DEFENDANT A. KENNEDY:      Yes, sir.

 3                                              (Proceedings continued.)

 4                      THE COURT:    I'll ask all the lawyers these

 5         questions.

 6               First, do each of you believe your respective client is

 7         competent to enter a plea of guilty?

 8               Secondly, have you discussed with them the advantages,

 9         as well as the disadvantages, of a jury trial?

10               And third, do you believe your client is making a

11         knowingly and voluntary waiver of his or her right to a jury

12         trial?

13               Mr. Gonzalez?

14                      MR. GONZALEZ:    Yes, sir.

15                      THE COURT:    Mr. Flanagan?

16                      MR. FLANAGAN:    Yes, Your Honor.

17                                              (Proceedings continued.)

18                      THE COURT:    Do all of you believe --

19               Let me ask it this way.       Has anything come to your

20         attention which raises a question at all about the competence

21         of your client to waive a jury trial?

22               Mr. Gonzalez?

23                      MR. GONZALEZ:    No, sir.

24                      THE COURT:    Mr. Flanagan?

25                      MR. FLANAGAN:    No, Your Honor.



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 1                                              (Proceedings continued.)

 2                     THE COURT:     Okay.   Ms. Trombly, I don't have any

 3         questions for you.      I'm assuming the Government is relying on

 4         the written statements of the facts by each of the defendants

 5         to support their respective pleas of guilty.

 6                     MS. TROMBLY:     That's correct, Your Honor.        Thank

 7         you.

 8                     THE COURT:     So is it true as to each of these

 9         defendants that you are pleading guilty here this afternoon

10         because, in fact, you are guilty of the offense to which you

11         are entering your plea?

12                Is that true, Ms. McWhorter?

13                     DEFENDANT B. McWHORTER:       Yes, sir.

14                     THE COURT:     Mr. Kennedy?

15                     DEFENDANT A. KENNEDY:       Yes, sir.

16                                              (Proceedings continued.)

17                     THE COURT:     Ms. Trombly, has anything come to your

18         attention that raises a question as to the competence of any

19         of these defendants to waive their right to a jury trial and

20         enter a plea of guilty?

21                     MS. TROMBLY:     No, Your Honor.

22                     THE COURT:     The Court has observed the appearance

23         of each of these defendants and noted their responsiveness to

24         the questions asked of them by the Court.           Based on the

25         answers given and the Court's observation, the Court makes



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 1         these findings:

 2               Each of the defendants is in full possession of their

 3         faculties and they are competent to plead guilty.

 4               Each of them is not under the influence of any

 5         narcotics, hallucinogens, alcohol, or other mind-altering

 6         substance.

 7               They each understand the nature of the charge to which

 8         their respective plea is offered, as well as the maximum

 9         possible penalty provided by law.

10               Each waives his or her constitutional rights to a jury

11         trial and the constitutional rights accorded all persons

12         accused of a crime.

13               Each is aware of the Plea Agreement and Petition to

14         Enter a Guilty Plea made in their behalf.           Each of the

15         defendants adopts the terms of their documents, including the

16         Petition to Enter a Guilty Plea and Plea Agreement.

17               The Court finds that each has knowingly offered to plead

18         guilty voluntarily.

19               Finally, the Court finds that there is an independent

20         basis in fact to support each of the pleas of guilty.

21               I would ask each of the lawyers to have their clients

22         sign the Petition to Enter a Guilty Plea, as well as the Plea

23         Agreement.     And then sign -- excuse me, sign both of those

24         documents in the space provided and then to initial each page

25         of both documents.



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 1               Then if the lawyers would sign in the space provided by

 2         them on both documents and pass it to Ms. Trombly for her

 3         signature on both documents, as well.

 4                                              (Pause in proceedings.)

 5                     THE COURT:     Before we conclude the guilty plea

 6         hearing, do any of the defendants have any questions before

 7         we adjourn?     Either of me or your lawyers.

 8                                                    (No response.)

 9                     THE COURT:     The sentencing hearings will be set by

10         separate order by the Court.        As I say, it's usually in about

11         90 days.    But we will set a separate hearing for each of you.

12         Some of them may be combined, as we have here today, but I

13         don't know that for a fact.

14               So if there's no other --

15                     MS. TROMBLY:     Your Honor --

16                     THE COURT:     Pardon me.

17                     MS. TROMBLY:     Before we conclude, Your Honor, may I

18         be heard briefly?

19                     THE COURT:     Yes.

20                     MS. TROMBLY:     Your Honor, thank you.

21               At this time the Government would move the Court to seal

22         each of the Plea Agreements in this case.           The Government has

23         received strong evidence of potential threats being received

24         by several of these defendants.         And what may not amount to

25         threats is certainly witness tampering.



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 1               And we have concerns that between now -- the gap between

 2         now and any trial that may or may not take place with other

 3         co-defendants or the other co-defendant, we're very concerned

 4         that that type of behavior might continue.           Because of that,

 5         we would move that these documents be sealed to protect each

 6         of these individuals.

 7                     THE COURT:     All right.    That motion will be

 8         granted.

 9                     MS. TROMBLY:     Thank you, Your Honor.

10                                              (Proceedings continued.)

11                     THE COURT:     If there's no other matters to come

12         before the Court, then we'll stand adjourned.

13                                        (Recess was taken at 3:30 p.m.)
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 1                                 REPORTER'S CERTIFICATE

 2

 3                             I, Dorothy Stiles, Official Court Reporter

 4         for the United States District Court for the Middle District

 5         of Tennessee, with offices at Nashville, do hereby certify:

 6                             That I reported on the Stenograph machine

 7         the proceedings held in open court on May 12, 2008, in the

 8         matter of UNITED STATES OF AMERICA vs. ANTHONY W. KENNEDY,

 9         Case No. 3:07-CR-00159-3; that said excerpt of proceedings in

10         connection with the hearing were reduced to typewritten form

11         by me; and that the foregoing transcript (Pages 1 through 56)

12         is a true and accurate record of said excerpt of proceedings.

13                             This the 9th day of September 2009.

14

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19                                          /s/ Dorothy Stiles, RMR, CRR

20                                               Official Court Reporter
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